      Case 3:14-cv-00371-MPS Document 1 Filed 03/25/14 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

ANGELO FRAMULARO                                     JURY TRIAL DEMANDED

v.                                                   CASE NO. 3:14CV

NATIONWIDE CREDIT, INC.

                                     COMPLAINT

       1. This is an action for relief pursuant to the Fair Debt Collection Practices Act

("FDCPA"), 15 U.S.C. § 1692; or the Consumer Collection Agency Act, Conn. Gen. Stat.

§ 36a-800 and regulations issued thereunder.

       2. This Court has jurisdiction. 15 U.S.C. §1692k; 28 U.S.C. §1331, §1367.

       3. Plaintiff is an individual whose address is in Trumbull Connecticut, according

to defendant’s records.

       4. Plaintiff is a consumer within the meaning of the FDCPA, in that he had a

personal credit card account with Chase Bank used for normal family purchases that

defendant claimed it was authorized to collect.

       5. Defendant is a wholly owned subsidiary of Altisource Solutions S.A.R.L.

       6. Defendant is licensed as a Consumer Collection Agency by the Banking

Department of the State of Connecticut, but is not licensed at the Lehigh Valley

Pennsylvania address that it exclusively used in connection with its form collection letter

sent to plaintiff dated 2/11/2014.

       7. Defendant regularly collects debts for creditors using the mail and other

means of interstate commerce.

       8. Defendant directs consumers to use the Lehigh Valley address for all dispute,

payment, and other correspondence.
       Case 3:14-cv-00371-MPS Document 1 Filed 03/25/14 Page 2 of 2




        9. Defendant’s form letter of 2/11/2014 sent to plaintiff falsely claims that

interest, late charges, and other charges may be added to his Chase credit card account.

        10. In the course of its collection, defendant violated §1692e, or -f.

WHEREFORE plaintiff respectfully requests this Court to:

   1. Award plaintiff such damages as are permitted by law, both compensatory and

punitive;

   2. Award the plaintiff costs of suit and a reasonable attorney's fee;

   3. Award such other and further relief as law or equity may provide, including

injunctive relief.

                                       THE PLAINTIFF


                                       BY____/s/ Joanne S. Faulkner___
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